Case 8:11-cr-00366-JSM-TBM Document 225 Filed 01/24/13 Page 1 of 5 PageID 2383




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                CASE NO. 8:11-cr-366-T-30TBM

    ROGER LEE SHOSS


                            FINAL JUDGMENT OF FORFEITURE

           THIS CAUSE comes before the Court upon the filing of the United States’

    Amended Motion for a Final Judgment of Forfeiture (Dkt. #223) pursuant to the

    provisions of 21 U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), for the following

    real property:

                     The real property, including all improvements thereon and
                     appurtenances thereto, located at 139 Haversham Drive, Houston,
                     Harris County, Texas, which is legally described as follows:

                     The most Northerly 90 feet of Lot Nine (9), in Block Seven (7), of
                     WHISPERING OAKS, SECTION THREE (3), a subdivision in Harris
                     County, Texas, according to the map or plat thereof recorded in
                     Volume 66, Page 37 of the Map Records of Harris County, Texas.

           1.        On July 23, 2012, the Court entered a Forfeiture Money Judgment in

    the amount of $800,000 and Preliminary Order of Forfeiture, forfeiting to the United

    States all right, title, and interest of defendant Shoss in the Haversham Drive

    property. Doc and 150.

           2.        On August 9, 2012, defendant Shoss was sentenced and the forfeiture

    of the Haversham Drive property was included in the Judgment in a Criminal Case.

    Docs. 158 and 159.
Case 8:11-cr-00366-JSM-TBM Document 225 Filed 01/24/13 Page 2 of 5 PageID 2384




           3.     The only individuals or entities known to have a potential interest in the

    Haversham Drive property are Xiao Ping Luo, Bank of America, N.A., and ASI

    Staffing, Inc. Between August 6, 2012 and August 10, 2012, the United States sent

    notices of this forfeiture action, via certified United States mail and first class mail,

    to all known potential claimants, in accordance with the requirements of 21 U.S.C.

    § 853(n). The notice instructed all known potential claimants to file a petition

    claiming a legal interest in the Haversham Drive property pursuant to the provisions

    of 21 U.S.C. § 853(n), within thirty (30) days of receipt of the notice, with the Clerk,

    United States District Court, Middle District of Florida, Sam M. Gibbons Courthouse,

    801 North Florida Avenue, Tampa, Florida 33602.

           4.     James E. Felman, Esquire, attorney for Xiao Ping Luo, returned the

    signed Acknowledgment of Receipt of Notice of Forfeiture. However, neither Mr.

    Felman nor Ms. Luo filed a petition claiming a legal interest in the Haversham Drive

    property.

           In addition, a second notice was sent to Xiao Ping Luo, 139 Haversham

    Drive, Houston, Texas 77042, via first class mail and certified mail. The certified

    mail was returned to the United States, as “Unclaimed.” The first class mail and the

    Acknowledgment of Receipt of Notice of Complaint for Forfeiture were not returned,

    and there is no indication that they were not received.

           5.     The certified return receipt for the Notice of Forfeiture was returned

    and signed by Chris Seeley, a representative for ASI Staffing, Inc. However, ASI


                                               2
Case 8:11-cr-00366-JSM-TBM Document 225 Filed 01/24/13 Page 3 of 5 PageID 2385




    Staffing, Inc., failed to file a petition claiming a legal interest in the Haversham Drive

    property.

           6.      The certified return receipt for the Notice of Forfeiture was returned

    and signed by Arthur Simpson, a representative for Harris County Tax

    Assessor-Collector. However, the Tax Collector failed to file a petition claiming a

    legal interest in the Haversham Drive property.1

           7.     In accordance with 21 U.S.C. § 853(n)2 and Rule 32.2(b)(6)(C), the

    United States published notice of the forfeiture and of its intent to dispose of the real

    property on the official government website, www.forfeiture.gov, from July 24, 2012

    through August 25, 2012. Doc. 164. The publication gave notice to all third parties

    with a legal interest in the real property to file with the Office of the Clerk, United

    States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse,

    2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to adjudicate

    their interest within 60 days of the first date of publication.

           8.      On November 12, 2012, Bank of America, N.A. filed a Petition

    Claiming a Legal Interest in Property, claiming an interest in the Haversham Drive

    property by virtue of a promissory note in the amount of $332,000.00, dated April 20,



           1
            Although the Harris County Tax Assessor-Collector failed to file a claim,
    the Government recognizes that, in order to pass clear title, it must satisfy any
    outstanding taxes due and owing, to the extent there are any, at the time of sale.
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              As provided in 28 U.S.C. § 2461(c), the procedures set forth in 21
    U.S.C. § 853 govern this forfeiture.

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Case 8:11-cr-00366-JSM-TBM Document 225 Filed 01/24/13 Page 4 of 5 PageID 2386




    2005, which was secured by a Deed of Trust dated April 20, 2005. Doc. 202,

    Exhibits “B” and “C.”

           9.     No person or entity, other than defendant Shoss, whose interest

    was forfeited to the United States in the Preliminary Order of Forfeiture, Xiao Ping

    Luo, Bank of America, N.A., ASI Staffing, Inc. and the Harris County Tax Collector,

    are known to have an interest in the Haversham Drive property. Only Bank of

    America, N.A., has filed a petition claiming an interest in the property, and the time

    for filing such petition has expired. Doc. 202.

           Accordingly, it is hereby

           ORDERED, ADJUDGED and DECREED that the United States’ motion (Dkt.

    #223) is GRANTED. It is FURTHER ORDERED that all right, title and interest in the

    real property located at 139 Haversham Drive, Houston, Harris County, Texas is

    FORFEITED to the United States of America, subject to the interest of the Harris

    County Tax Assessor/Collector for any unpaid ad valorem taxes and assessments

    due and owing at the time of sale, and the interest of Bank of America, N.A.,

    pursuant to 21 U.S.C. § 853(n)(7) and Federal Rule of Criminal Procedure

    32.2(c)(2). Bank of America, N.A. has a prior interest in the Haversham Drive

    property by virtue of a promissory note and Deed of Trust. Bank of America, N.A.'s

    lien rights under the Deed of Trust are superior and senior to those of the United

    States. Therefore, solely from the proceeds of the sale of the Property (to the extent

    that there are sufficient proceeds), after the deduction of the United States'


                                              4
Case 8:11-cr-00366-JSM-TBM Document 225 Filed 01/24/13 Page 5 of 5 PageID 2387




    expenses relating to the seizure, maintenance, custody, publication, marketing, and

    sale of the Haversham Drive property, including any and all outstanding property

    taxes and interest due and owing the Harris County Tax Collector, Bank of America,

    N.A. is entitled to unpaid principal ($296,084.14), interest from August 1, 2012 to

    February 11, 2012 ($9,369.23), a County recording fee ($16.00), uncollected late

    charges ($298.59), other fees ($20.25), and an expedited payoff service fee

    ($30.00) totaling $305,818.21, and interest from February 11, 2013 to the date of

    sale at the per diem rate of $48.67. The United States will not be responsible for

    any additional late fees or charges other than those described above.             Any

    remaining net proceeds of the sales, after the satisfaction of the priorities listed

    above, shall be forfeited to the United States.

             Subject to the above interests, clear title to the Haversham Drive property is

    now vested in the United States of America.

             DONE and ORDERED in Tampa, Florida on January 24, 2013.




    Copies furnished to:
    Counsel/Parties of Record
    F:\Docs\2011\11-cr-366.forfeiture FJ 223.wpd




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